Case 08-11588-KG _ Doc 1

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_ Filed 07/29/08. Page 1 of 20... .

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“United States = Banapeey Court ten

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‘Nate af Detaor of (it individual, eater Last, First, Middle):
Mervyn's Brands, LLC, a Minnesota tinited Kisbifiey eoimpainy

low

All Other Names used by the Debtor ia the Yast a years .
dinstude martied, maiden, and trade de nan: :

All river Names used by he Fount Debiord in the hast § yeas.
{incinde cnt Faniden, and trade names):

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Strict, dress sibs & Sue ois Sate

Hayward, CA

County of fasidenos or v of he Printi pl Plas of Bushes
Alameda, California |

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WA”

Mailing Address of Debtor oF Tide Fo street ie

[arcane

Matting nabs oF Debtor a if Giffen from street adideess :
WA -

Location of Praca

Tels of Bosinvas Debtor (if diferest from stroet adress abiove):

_ Type of Debtor
. (Form of Organization)

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Check one Bon)

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, the Fetition is Fited Check ane b oo

Cichaper? we

Filing Fee tobe paidin installments (applicable 6 fndividuats nly).
»_ itst altach signed application for the court's ponsiderntion certifying
" shat the debtor is unable to pay fas exoupt in fastallments. Rule OOK}.
, / Bee Oficial Foret Na, 3A

Hi Fiting Bee waiver toquested {enplioadte ta chapter 7 ‘ndtyidvats oat if),
§ _ Mist attach shined application fior thy courl's sonsideration. § See Gitticial Form 38.

: ao Chapter 15 Petition for
og Indiviacal finetades Joint Debtors) ol seat Care Business CT Chapter? , Reeopinion ofa Foreign
» See inhib 2 on page 2 af this fem. [ Single Asvet Real Bate $8 Chapter 1) | __s Main Prooneding . .
og Comoration Ginctayes We and MP) > ge defined in 11 WSC, [Chapter 2 < Cl Chapter 15 Petition for
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Sigve entities, check this box and {) Stockbroker
date Pe of entity below) ot (1 Commodity Broker
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Other) .
: Tex-Rxompt Entity -: “Wwe iba
/ | (Che box, if ‘applicable, 2 » (Check our box) 5. .
dq pDebieri isa fegeoxempt Sitanization 4 Debts m mn primarily constant we Dats ant presi
undée Tithe 26 ofthe United States Tiekts, delined in 11 U.S.C, ~. business debts. .
‘Coie ihe frtemal Revenue Code) § 101¢8) as “irenrred by an pe
individual primarily for a
persentl family, or household,
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& Debtor $ isnota gmat! business debtor as defined | in 4 i u. 5. &.
3 201510).

{I Debtor's ageregate nonvontingent liquidated debts (excluding

< StatisticeliAdministrstive infection .

go. creditors, 2.
2 {3  Debtorestinates that,
fo tere awtif be ge funds availabiec Fox tistributiin to uascomred creditors.

Debtor estimates that fonds wit ® available fot citation to unsepured

after any exempt property: is exclude ated adnefnistative mmopenses paid,

Debs oe tise ites) mp Tess han S290

Cheek ofl applicable baxest
(C} A plan is being fited with this petition.
{1 Acseptances of the plan were solicited prepetition from one
or mors classes ¢ of ervditors, in avcordance with FEV. $. C. $4 126fb).

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5,001-

see

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i Estrnaied Assets
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_Case 08-11588-KG Doc 1 Filed 07/29/08 Page 2 of 20

ficial Form) £ (1/08) ee Re eo Page 2

Voluatary Petition “ et mf Mame oF Debtors Se, 4 af
eo al be completed an ed evry ant tL mo | Mervya’s Brands, 1. in 1a limited liability company pase

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(fo ‘be complend if debtor i is is gute to fils periodic reports fe, forms 10K and 100) with whose debts are privanrily covsuimier debts)

} the eS and Exchange Commission pursuant to Seetion. 13 ar 15(d) of the Securities

we Adi of A andis requesting relief ander ae i }

ai, the anomey ‘for ihe petiionss rareied in the foregoing petition, declare that } have informed

B the petitioner that [he or she] may procecd under chapter 7, 11. 12 or 13-ef'title 17, United.
States Clade, and have explaiied the vetiel available ander cach such thapter. t farther ‘eettity

that T Helivered fo the uebter, ihe ‘actice eeanieed 4 U.S.C, § 34206). ae

Sissi sat Aroreey for Baa
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abit c.. a : .

FE Exhibit D also completed and signed ty the joint

ieformation Regarding the Debtor ~ Yenue 5 ,
. Check any applicable box} ‘ Me

Debtor naw ees domiciled or hag hada residence, principal place of business, or principal assots fn this Distt for 180 days immediately
- preceding & the. date of this $ petition or for alonger part of such 180 says: than in any other District. 2

ge o There isa banuptey cass concorsing, debtor's affitiae, generat pertnes, or partnership pending in this Diswiet

gy “ Debtor is a debtor in a foreign proceeding and hus ig principal place of business of ptincipal assets it the United States in this District,
|. ~ arbas no panelpal plage of business of exsets in the United States but ig a deferdant in an action or proceeding {in n furleral or state court}
» ths Disetet, or the insets of the patties will be served in regerd to the relief sought in this District.

Statement by 1 Debtor Wha Resides as a Tenant of Residentiat Property
Chuck off appleahte dren.

Ct Landlord fas ajadgment apsinel the debtor for passestion of deblor's esidest. (If box checked, complete the followingg

(Mame of landlord thet abmined pudgment)

{Andress of lendiord)
a Deblor claims that wader appiieable ponbanktaptoy law, there are circumstances mnder which the debtor would be pecraiced bo cure the
entire monetary defanls that gave rise to the judyment for possession, after the judgment for posssssidrt was entered, and

Ci Debtor hes included in this petition the deposit with the court of any reat that would beoome due dang the 30-day period after the
: Bling of the petition, :

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Case 08-11588-KG Doc1 Filed.07/29/08 Page 3 of 20

oo a * Page 3
2 J) Name of Debsorls): Mervyn's Brands, LEC, a Minacsata limited labitity

Bi (Oficial Form) 1 (1/08)
Voluntary Peition ee
This page must be completed and filed In avery cabal co

ee

Sienatures | . . “

ee Be. Bos Signature of & Foreiga Representatte log

B ldleciare tinder penalty of perury that the ifonnation provided in this petition is tare and

i correct, that { am the foreign representative of a debtor in a foreign proceeding, and that I aim
authorized ta file this petition. Bo ES gs

fea Signatarets} af Debtor(s} (individealJuint} — « ohay
der poualty of pegury thal she information provided in this petition 4 ts

. [If petitigner is an individual whose debts ave primarily consumer debts. and hes chosen to file,
F under chapter 7] I am aware that may proceed uader Ghapter 7, 11, 12 or 13 of tide IT, .
United States Code, understand the. relief avaliable under each such chapter, and choosé 16

proceed under chapter, | We ku re
[Ino attorney represents me‘and na baiiccuptey petition preparer sigs the petition} T have |
obtained and read the notice required by § 342¢b) of the Bankraptey Coda, . uf

der (Check only one box.) cor ae
ol . L request relied in accurdance wath, chapter 18 of title i i, United -
: States Code. Certified copies of the documents required by § 4915
- 2 ofile Warenftached, Ty te

Lyequtest retiel in gocorthinoe with the chapter of title 11, United Siateg Code, specified in this Bes BE At .
petiti ee ee oo Pursuant to § 1518 of fitte 11, United States Code, 1 request relief -
: "in accordance with the clapier of tile | specified its this petition, :
A certified copy of the order granting recognition of the forcikgn +
° wmain progeeding iswmtuced,

fey Signature of Debior .

, Sigeatare of Jgint Debtor no {Signatures of Foreign Representative},

(Printed Name of Foreign Representative}, 7

: Telephone Nunnber {if not represented by afformmey)

: Date _ Bate

CB et oor Stpnatere of NonrAtterney Bankruptcy Petition Preparer: °-
. § {declare wader penalty of pedhury that! (11am a bankruptcy petition prepacet 68 definedin -
E11 US.C. § 110, (2) 1 prepared this document for compensation and have provided the debtor
| iti a copy ofthis document and the notices nid information eequired ander TEGLBC!  B
S&S 110(6), 1 Ch), and 34200); and, (3) if niles or guidelines have been promuilgaed poysuant.
2 to fT U,S.C.§ 100k attting a maximurn fee for services oliargeable by banktupiy petition
# preparers, | have given the debtor notice of the maximam amount before preparing any”,
# doctiment for filing for a debtor or accepting arty fee from the debtor, as required in that
- # section. Official Foor 198 is attached. eR ta

_-. Signature of Attorney

Bignature of Altomey for Dettor(s)

Mark D. Coltizs, Esq,
Michards, Layton & Pinger, FA,
Ome Redacy Square |

SON, King Sirect
Wilmington, Delaware [980i
‘dephones (302) 634-7760
Facsimile: (02) 651-7701

i _ > Printed Name and fille, if any, of Bankruptey Petition Preparer

”."Bogial Soouiliy Nomber OF the bankroptoy petition preparer is not an individnal, state de Bh”
. Sootad Segurity mumber of the officer, principal, responsible person orpatiner ofthe 7 go
" bankrupsey petition preparer.) Required by 11 USC. § 10) wee vee Bk

Address oe mee ay Ts 5

mn Signature at Debtor (Cerporation/Partuership) _&§
‘dealasé under yenalty of perjury that the information provided ia this petition is true and x

f cornet, and that {have been authorized to fle this pfition on behalf ofthe ashi,

The debtor mequesis relief in accordance with the chapter oftille 14, United States Code, Dae " —
spoctlied fn thés petition, , Signature of Bankruptcy Pofition Preparer or officer, principal, responsible person, oF
partner whose soctal security uumber is provided above, eo

= _ Names and Social Seeurily members af all other individunts whe prepared or assisied fn

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Charvies Ry Kurih:

” ‘Printed Name of Authorized Individual
Exerutive Vieo President. CFO and CAG
Tale of Authorized individual
Sutly 29, 2008

Date

{f more than ane person prepared this document, attach additional sheets conforming to , :
the appropriate official farm for each person, ot

E A dankrupley petition preparer's fitilure 16 comply with Hie. provisions oftide ilandike = < g
E Federal Rules of Bankruptcy Proosdure may result in fines or heprisonment or both 11 UBC &
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Case 08-11588-KG.. Doc 1. Filed.07/29/08. .Page 4 of 20 29.)

“Pending Bankruptcy Cases ak ‘adtiliates of the Debtor:
Bach Concurrently Filed in the United States Bankruptey Court for the Distri of Delawar

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led in this. Court a ‘voluntary petit

A ‘of the United, States Bankauptcy Code, (1 U, 332 miporane
“pe ties | filed am motion. ‘Tequesting joint, admini

2 Mervyn's Holdings, LLC.was the first of these affiliates to commence its chapter 11 case,

- RLP1-3306324-1
Case 08-11588-KG Doc1 Filed 07/29/08 Page 5 of 20

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
MERVYN’S BRANDS, LLC, ) Case No. 08- ( )
a Minnesota limited liability company )
)
Debtor. )

LIST OF CREDITORS HOLDING
THE THIRTY LARGEST UNSECURED CLAIMS

The debtor in this chapter 11 case and certain affihated entities (collectively, the “Debtors”)’ each
filed a voluntary petition in this Court on July 29, 2008 (the “Petition Date”) for relief under chapter 11 of the
United States Bankruptcy Code, 11 U.S.C. §§ 101-1532. The following is a list of the Debtors’ thirty largest
unsecured creditors on a consolidated basis (the “Top 30 List’), based on the Debtors’ books and records as
of the Petition Date. The Top 30 List was prepared in accordance with Rule 1007(d) of the Federal Rules of
Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases, The Top 30 List does not include: (1)
persons who come within the definition of an “insider” set forth in 11 U.S.C. § 101(31); or (2) secured
creditors, unless the value of the collateral is such that the unsecured deficiency places the creditor among the
holders of the thirty largest unsecured claims. The information presented in the Top 30 List shall not
constitute an admission by, nor is it binding on, the Debtors. The failure of the Debtors to list a claim as
contingent, unliquidated or disputed does not constitute a waiver of the Debtors’ right to contest the validity,
priority, and/or amount of any such claim.

San Fancisco, CA 94111
‘Attm Robert Hanson, President & Loreen
iZakem, President of Levi Wholesale
Telephone: (415) 501-4168

and (415) 501-4805
Facsimile: (415} 501-3907

Name of Creditor (Name, Telephone Number, Fax Number, Nature of Claim Indicate if Claim isAmount of
and Complete and Complete Mailing Address including(Trade Debt, Bank |Contingent, Claim
Mailing Address, zip code of employee, agent er Loan, Government ‘Unliquidated, Gi secured,
Including Zip Code \department of creditor familiar with contract) Disputed, or state value of
claim who may be contacted Subject to Setoff security)
Levi Strauss & Co. {1155 Battery St. Trade Debt $12,758,951

' The Debtors in these cases, along with the last four digits of their federal tax identification numbers for each of the

Debtors, are Mervyn’s Holdings, LLC (7931), Mervyn’s LLC (4456) and Mervyn’s Brands, LLC (8850).

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Name of Creditor
and Complete
Mating Address,
I

neluding Zip Cede

Name, Telephone Number, Fax Number, and
Complete Mailing Address including zip cede
of employee, agent or department of creditor

familiar with claim who may be contacted

Nature of Claim
(Trade Debt, Banklis Contingené,
Hoan, Unliquidated,
Government isputed, or

contract)

ndicate if Claim

Subject te Setoff

Amount of
Claim

(if secured,
state value of
security)

Wicked Fashions

222 Bruce Reynolds Blvd.
Fort Lee, NJ 07024

Attn: David Khyn, President
Telephone: (201) 242-5900
Facsimile: 201) 242-8466

Trade Debt

$6,054,960

INike USA Inc.

One Bowerman Drive
Beaverton, OR 97005

‘Attn: Mark Parker, President
Telephone: (800) 344-6453
Facsimile: (503) 671-6374

Trade Debt

$4,723,327

Vans Inc.

110 Sycamore Ave.

Larkspur, CA 94939

Attn: Steve Murray, President
Telephone: (888} 691-8889
Facsimile: (714) 889-6776

Trade Debt

$2,903,656

Fashion Resource
(TCL)

315] East Washington Blvd.
Los Angeles, CA 90023
Attn: Gerard Guez, CEO
Telephone: (323} 780-8250
Facsimile: (323) 780-0751

Trade Debt

$2,652,329

Hanes Brand-Hanes
UW

1000 East Hanes Mill Road
Winston-Salem, NC 27105
Attn: Rich Noll, CEO
Telephone: (336) 519-6707
Facsimile: (336) 519-3335

Trade Debt

$2,593,847

Lolly Togs

100 West 33™ St, Suite 1012
New York, NY 10001-2900
Attn: Richard Sutton, CEO
Telephone: (212) 502-6098
Facsimile: (212) 268-5160

Frade Debt

$2,378,248

VF Jeanswear Inc.

P.O. Box 21488

Greensboro, NC 27420

Attn: Bankruptcy Department
Telephone: (800) 353-9692
Facsimile: (336) 332-5408

Trade Debt

$2,002,818

Jansport Inc./VF
Outdoor

2011 Fallon Drive

Sat: Leandro, CA 94577

‘Attn: Steve Munn, President
Telephone: (510) 614-4030/4000
Facsimile: (510) 614-4025

[Frade Debt

$1,733,339

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Name of Creditor
and Complete
Mailing Address,
Including Zip Code

Name, Telephone Number, Fax Number, and
Complete Mailing Address including zip code
of employee, agent or department of creditor
familiar with claim who may be contacted

Nature of Claim

Lean,
Government
contract)

Unliquidated,
Disputed, or

Subject to Setoff

Indicate if Claim Amount of
(Trade Debt, Bankis Contingent,

Claim

(if secured,
state value of
security)

10.

Hanes Brand-Playtex

P.O. Box 807

Rural Hall, NC 27046
Attn: Legal Department
Telephone: (336) 519-6034
Facsimile: (336) 519-2705

trade Debt

$1,375,829

11.

Vanity Fair Mills Inc

1136 Madison Ave.

INew York, NY LOOL6

Attn: Anne Jardine, President Dept/Chain
Telephone: (212) 696-1110

Facsimile: (212) 725-5684

Trade Debt

$1,288,882

12.

Agron Inc.

2440 8. Sepulveda Blvd.
Los Angeles, CA 90064
Attn: Legal Dept
(Telephone: (310) 473-7223
Facsimile: (310) 312-1753

Trade Debt

$1,269,258

13.

Mattel Inc.

333 Continental Blvd.

IE] Segundo, CA 90245

Attn: Robert Eckert, Chairman of the
Board/CEO and Carol Levine, VP
‘Telephone: (310) 252-5000
Facsimile: (310) 232-3671

Frade Debt

$1,194,324

14.

IB & Y¥ Global
Sourcing

237 W 30th St

Los Angeles, CA 90007-3319

Attn: Norbert Baroukh

Telephone: 213-744-9955

Email: norbert@byglobalsource.com

Trade Debt

$1,050,563

15.

Hanes Brand-
Bali/Barely There

2612 168th Ave. SE
Bellevue, WA 98008-5512
‘Attn: Brian Hottinger
Telephone: (425) 653-2334
Facsimile: (425) 653-2335

(Trade Debt

$1,011,962

16.

Rosetti Handbags &
Accessories

16 West 33rd Street, Suite 312
New York, NY 10001

Attn: Lena Jones, President
‘Telephone: (646) 839-7912
Facsimile: (212) 279-3224

Trade Debt

$1,002,738

V7,

Humphreys
[Accessories LLC

120 W. 45th Street, 38th Floor

New York, NY 10036

Attn: Jeffrey Spicgel, CEO and President
Telephone: (212) 768-8800

Facsimile: (212) 768-8385

Trade Debt

$981,415

Case 08-11588-KG Doc1 Filed 07/29/08 Page 8 of 20

ame of Crediter
and Complete
ailing Address,

Including Zip Code

Name, Telephone Number, Fax Number, and
Complete Mailing Address including zip code
of employee, agent or department of creditor
familiar with claim who may be contacted

Nature of Claim

Loan,
Government
contract)

Kndicate if Claim

(Trade Debt, Bankiis Contingent,

Unliquidated,
Disputed, or
Subject to Setoff

Amount of
Claim

(if secured,
state value of
security)

18.

Delta Galil
USA/Wundies D

150 Meadowland Parkway, 2nd Floor
Secaucus, NJ 07094

‘Attn: Tom Witthuhn, CEO
Felephone: (201) 902-0055
Facsimile: (201) 902- 0070

‘Trade Debt

$977,890

19,

Byer California

66 Potero Ave,

San Francisco, CA 94103

Attn: Alan Byer, Owner, President
Telephone: (415) 626-7844
Facsimile: (415) 626-7865

(Trade Debt

$971,812

20.

Volumecocomo
Apparel Inc.

4160 Bandini Blvd.
Vernon, CA 90023

Attn: Chris Chang, CEO
(Telephone: (213) 763-6111
Faesimile: (323) 881-1859

Trade Debt

$923,470

21.

Vida Shoes
International Inc.

29 West 56th St.

New York, NY 10019
(Telephone: (212) 246-1900
Facsimile: (212) 581-9609

Frade Debt

$904,407

22,

Williamson-Dickie
MFG Inc.

319 Lipscomb

Fort Worth, TX 76104

Attn: Phillip Williamson, President
Telephone: (817) 336-7201
Facsimile: (817) 810-4454

[Trade Debt

$894,181

23.

Jockey Int’l Inc.

2300 60th Street

Kenosha, WI 53141

Attn: Bob Nolan, President
Telephone; (262) 658-8111
Facsimile: (262) 653-3079

(Trade Debt

$870,437

24,

IRoytex Inc.

16 East 34th Street

New York, NY 10016
‘Attn: Legal Department
‘Telephone: (212) 686-3500
Facsimile: (212) 686-4336

‘Trade Debt

$856,407

Case 08-11588-KG Doc1 Filed 07/29/08 Page 9 of 20

Name of Creditor
and Complete
Mailing Address,
Including Zip Code

Name, Telephone Number, Fax
Number, and Complete Mailing Address
including zip code of employee, agent or
department of crediter familiar with
claim who may be contacted

Nature of Claim
(Trade Debt, Bank
Loan, Government
contract)

Indicate if Claim
ks Contingent,
Cniliquidated,
Disputed, or
Subject te Setoff

Amount of
Claim

(if secured, state
value of
security)

25.

Hanes Brand - Socks

P.O. Box 2765

Winston Salem, NC 27102
(Telephone: (336) 519-4930
Facsimile: (336) 519-8313

(Trade Debt

$723,062

26.

KWDZ MFG
_LLC/Knitworks

337 S. Anderson Street

ILos Angeles, CA 90033-3742
Telephone: (323) 526- 6526
Facsimile: (323) $26-3528

Trade Debt

$722,185

27,

Stony Apparel Corp.

1500 S, Evergreen Ave.
Los Angeles, CA 90023
Telephone: (323) 981-4241
Facsimile: (323) 981-9095

[Frade Debt

$721,618

28,

The Van Heusen Co.

200 Madison Ave.

New York, NY 10016

Attn: Manny Chirico, Chairman and CEO
and Allen Sirkin, President and COO

(Telephone: (212) 381-3500

Facsimile: (212) 381-3970

Frade Debt

$680,054

29,

Bijoux International

1280 Jersey Ave.

North Brunswick, NJ 08902
(Telelphone: (732) 828-3886
Facsimile: (732) 828-3953

Trade Debt

$678,682

30.

Combine
International

354 Indusco Court

Troy, MI 48083
(Telephone: (248) 585-9900
Facsimile: (248) 585-8641

Trade Debt

$674,538

Case 08-11588-KG Doc 1 Filed 07/29/08....Page.10.0f 20...

oIN THE : UNITED STATES BANKRUPTCY. COUR
FOR THE DISTRICT of DELAWARE mee

3 5 BRANDS, LLC, ~

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. “a Minnesota inited liability

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Case 08-11588-KG Doc1 Filed 07/29/08. Page 11 of.20,

: aN THE UNITED STATES. 5 BANKRUPTCY couRT.
FOR THE DISTRICT, OF DELAWARE vot

os Q, Chapter 1 :

“ CONSOLIDATED) List. OF CREDITOR RS.

oth “debtor, jn: 1 this chapter, { L : -
ch filed a petition in this Court on ‘aly 29, "3008 for f lief
es ankruptcy Code, 11 U.S.C, 8§ 101-1532. Contemporaneously with the filing of
n, the Debtors 1 filed a single. ‘consolidated list of creditors (the. “Consolidated, Credito

AL of separate lists. Due to its -yoluminous, nature, the Consolida 5
bei Fs st 2d to the Court electronically as an attachment hereto,

- “a provided aban format]

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Case 08- 11588- KG - Doc 1 _ Filed 07/29/08 Page 12 of 20. aes

IN THE UNITED STATES 5 BANKRUPTCY ( COURT
“FOR THE DISTRICT OF DELAWARE .

‘Charles’ R. Kx xec Vice -Presides ,

AG nistrative Officér of Mervyn’ S. ‘Brands, LLC, a ‘Minnesoia. limited Liability company : and th :

ntity named as ‘debtor in this case, ‘declare under penalty of perjury under the laws of the United;

States of America that, 1. have: reviewed the Consolidated Creditor List submitted. herewith an
AIC in is tru and ¢ correct io the best of f my information: and bel i

“oad “Name: Charles R. kan
“Title: ‘Executive View Presiden
Mervyn! s Brands, Lic.

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It THE : UNITED STATES BANKRUPTCY ¥ COURT

Number of K Eo
{Securities o | interest |

| REEMA

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"_{N THE UNITED STATES BANKRUPTCY COURT
2 THE DISTRICT OF DELAWARE

DECLARATION CONCERNING THE DEB
OF EQUITY SECURITY HOLDERS

Name: Charles R. Kurth
“Title: : Executive Vice President, CFO and
Mervyn's Brands, LLC ga.

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NDE, LLC'S STATEMENT
TCY PROCEDURE 1007)

clephone: (302) | 651-7 700
acsimile: GM) 6 651-7701. PO Lads

| Wendy 8. ‘Walker, a
MORGAN, LEWIS & BOCKIUS LLP
101 Park Avenue:
we New York, New York 10178 e 2 fe
~"Felephone: (212) 309-6000 PO
_ Faosimile: 12); 309-6001 a

Jae Proposed Attorneys for the Debiors and
ms Debtors-in-Possession ca

"-RLPL3306324-1 Ca

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Ys: Mer yn's. Holdings" “and, together with :
wk relief under the provisions. of Chapter.11: ‘of tile 1

NC , THEREFORE, BE Ir RESOLVED, ‘that in the judgment of the Board,
vos His: de irable and in the best interest of the Company, its. creditors, its, equity
“* holders’ and. ‘other, ‘interested parties, that the. ‘Company. be, and it, hereby. is.>
| authorized, empowered : aiid directed to file, at such time as it is ‘deemed fiecessary woe
oy, the: appropriats e officers of the e Company, the Petition i in the * Bankuptey C Court, eT!

, FURTHER See ei, that the President, Chief Financial and Administrative .
oe Officer, i Bxeoutive. Viee, ‘President, Senior Vice, President, View. President, General co

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- Counsel, Seoretary, "Assistant Seoretary, “Treasur ssistant . ‘Treasurer of, the |
ood ‘Company | (each, an. "A nthorized Officer", and collective > "Authorized Officers") be,
. 2 and each of ‘them, ‘with. full, authority to. act ° 10  héreby is autho
* empowered and: directed @) 0 execute and. verify th Petition |
ancillary documents and to cause the Petition to Sad with the Bankraptcy ce
“1 B form any and all sucl he, it, Gor

empowered aad tessa, on ‘behat ‘of and in th :
cause to be filed all p tions, schedules, lists, motions, a blis
do able in connection’ with the Chap

g alone. i
LLP and, Richards, Layto

URTRE f Authoriz fficers, ‘end such: other, officers as they
shall from time to. time designate be, and. each, of them ‘acting ‘alone is, ‘Authorized andes 2 oe eh
_. directed to retain’ on behalf of the. ‘Company any a ditional. counsel, ace tants, and pee UE

oth advisors as appropriates, and DS : Bo

‘FURTHER RESOLVED, ‘that ihe ‘Avthorized Officers, and each othet officers ¢ as ‘they
” ~ shall from time to time designate, be, and each of them acting alone is, hereby | authorized
and empowered on ‘behalf of, and in the name of, the Company io. execute, a plan of. oo
_ ” reorganization , under Chapter . ‘tL. of the Bankruptcy Code, including any and.all
 . paodifications, supplements ar and amendments thereto, 2 and io cage : the. same to be fled in oS
. the Bankruptey Court: and ms ee

- FURTHER RESOLVED, that the Authorized Off icers, “and such other office icets as they.
shall from time to time designate, be, and each of them. acting alone is, authorized and -
"directed fo take any and all such further actions and to execute and deliver any and all.
- such further instruments and documents and to pay all such expenses, in each case asim
_ his or their jadgment shall be necessary or desirable in order fully to carry out the intent te
oo and accomplish the | ® BUIPOSES of the ne resolutions adopted herein; and :

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FURTHER . RESOLVED, that all acts « layefully done or actions tavvfully taken by any.

member or officer of the Company in connection, with the reorganization or liquidation of.
So the ‘Company. or any matter related thereto, or by virtue of these resolutions be, and they wt
ce hereby are, in all respects: tified, confirmed and pro ‘ a mae

a R RESOLVED, t ‘that. the officers of the Company be, @
16 and on behalf « of the Company, to make | all
to execute and deliver

”  effectue the, purpose and 1€

. foregoing | resolutions, and. th wall actions taken ‘heretofore and hereafter. )
> accomplish such purposes and intents; ail d they hereby are,, approved,
ue ratified, and confirmed tee . a .

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28/07 2008 16:05 FAX GL7SS779208 LBB COOPER ore

WITNESS the duc excontion hereof.

Clarehee Texry

{Signature Page to Written Consent of the Board of Governors of Mervyn's Brands, LLC]
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WTINESS the due execution hereof.

[Signature Page to Written Consent of the Board of Governors of Mervyn's Brands, LLC]

